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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                            SAN JOSE DIVISION
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                                  12     PACIFIC STRUCTURES, INC,                          Case No. 21-CV-04438-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                          ORDER CONTINUING CASE
                                                                                           MANAGEMENT CONFERENCE AND
                                  14             v.                                        REFERRING PARTIES TO PRIVATE
                                                                                           MEDIATION
                                  15     GREENWICH INSURANCE COMPANY,
                                  16                   Defendant.

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                                             On September 8, 2021, the parties filed a joint case management statement. ECF No. 19
                                  18   (“JCMS”). The Court continues the September 15, 2021 case management conference to
                                  19   December 15, 2021 at 2:00 p.m. The Court also refers the parties to private mediation with a
                                       completion deadline of December 1, 2021. By December 8, 2021, the parties shall file a joint case
                                  20   management statement that includes a joint settlement status report.

                                  21          The Court set the following case schedule:
                                  22     Scheduled Event                                         Date
                                  23     Hearing on Motion to Dismiss                            November 4, 2021
                                  24     Deadline to Complete Private Mediation                  December 1, 2021

                                  25     Further Case Management Conference                      December 15, 2021, at 2:00 p.m.
                                         Last Day to Amend the Pleadings/Add Parties             January 5, 2022
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                                       Case No. 21-CV-04438-LHK
                                  28   ORDER CONTINUING CASE MANAGEMENT CONFERENCE AND REFERRING PARTIES TO PRIVATE
                                       MEDIATION
                                          Case 5:21-cv-04438-LHK Document 20 Filed 09/09/21 Page 2 of 2




                                         Close of Fact Discovery                        July 15, 2022
                                   1
                                         Opening Expert Reports                         August 12, 2022
                                   2
                                         Rebuttal Expert Reports                        September 9, 2022
                                   3     Close of Expert Discovery                      September 30, 2022
                                   4     Last Day to File Dispositive Motions           October 20, 2022
                                         (one per side in the entire case)
                                   5
                                         Hearing on Dispositive Motions                 December 1, 2022 at 1:30 p.m.
                                   6
                                         Final Pretrial Conference                      February 9, 2023 at 1:30 p.m.
                                   7     Jury Trial                                     March 13, 2023 at 9:00 a.m.
                                   8     Length of Trial                                5 days
                                   9

                                  10   IT IS SO ORDERED.

                                  11

                                  12   Dated: September 9, 2021
Northern District of California
 United States District Court




                                  13                                            ______________________________________
                                                                                LUCY H. KOH
                                  14                                            United States District Judge
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                                       Case No. 21-CV-04438-LHK
                                  28   ORDER CONTINUING CASE MANAGEMENT CONFERENCE AND REFERRING PARTIES TO PRIVATE
                                       MEDIATION
